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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

UNILOC USA, INC. AND                            §
UNILOC LUXEMBOURG, S.A.,                        §
                 PLAINTIFFS,                    §
                                                §
V.                                              §      CAUSE NO. A-18-CV-0159-LY
                                                §
APPLE INC.,                                     §
                         DEFENDANT.             §


     ORDER TRANSFERRING VENUE TO NORTHERN DISTRICT OF CALIFORNIA
         AND DISMISSING MOTION TO DISMISS WITHOUT PREJUDICE

         Before the court in the above-styled and numbered patent-infringement action are Defendant

Apple Inc.'s Motion to Transfer Venue Pursuant to 28 U.S.C.    §   1404(a) filed June 12, 2018 (Clerk's

Document No. 35), Plaintiffs Uniloc USA, Inc. and Uniloc Luxembourg, S.A.'s (collectively

"Uniloc") Plaintiffs' Initial Opposition to Defendant Apple Inc.'s Motion to Transfer Pursuant to 28

U.S.C.   §   1404(a) filed June 26, 2018 (Clerk's Document No. 37) Plaintiffs' Combined Opposition

to Defendant Apple Inc.'s Motions to Transfer Pursuant to 28 U.S.C. § 1404(a) filed February 15,

2019 (Clerk's Document No. 48), and Apple's Reply In Support of Its Combined Motions to

Transfer filed March 1,2019 (Clerk's Document No. 49). Apple requests that the court transfer this

action to the United States District Court for the Northern District of California, arguing that in the

interest ofjustice California is a more convenient forum for the parties and witnesses involved in the

case. Having considered the motion, response, reply, and applicable law, the court will grant the

motion and transfer the case to the Northern District of California.1




         Also pending before the court is Apple Inc.'s Motion to Dismiss Pursuant to Federal Rule
of Civil Procedure 12(b)(6) filed May 9, 2018 (Clerk's Document No. 28), which the court will
dismiss without prejudice.
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Background

       Uniloc Luxembourg, S.A. is a Luxembourg entity with its principal place of business in

Luxembourg. Uniloc U.S.A., Inc., maintains its principal business office in Newport Beach,

California, has headquarters in Irvine, California, and has maintained offices in Piano, Texas, since

2007, and in Tyler, Texas, since 2009. Apple is a California corporation, with its principal place of

business in Cupertino, California, which is within the Northern District of California. Apple also

maintains places of business in Austin, Texasa 1.1 million square-foot campus and a separate

216,000 square-foot campus. Apple employs more that 6,000 employees at these Austin facilities.

       Uniloc alleges that Apple infringes Uniloc's rights to United States Patent No. 7,587,207,

titled "Data Delivery Through Beacons" issued September 8, 2009. Uniloc accuses certain of

Apple's iPhones, iPads, and software products. Apple argues that the United States District Court

for the Northern District of California is clearly the more convenient venue to litigate and try this

case primarily because the disputes here lack any connection to Apple's Austin facilities, and all but

one relevant witness is located within the Northern District of California.

The law

       Transferring venue of an action is appropriate "[for the convenience of the parties and

witnesses, in the interest ofjustice" to any district "where [the lawsuit} might have been brought."

28 U.S.C.   §   1404(a) ("Section 1404(a)"). A patent-infringement action "may be brought in the

judicial district where the defendant resides, or where the defendant has committed acts of

infringement and has a regular and established place of business." 28 U.S.C.     §   1400(b) ("Section

1400(b)"). The threshold question for transfer under Section 1404(a) is whether this case "might

have been brought" in the venue sought by AppleNorthern District of California.             See In re



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Genetech, 566 F.3d 1338, 1345 (Fed. Cir. 2009) (applying In re Volkswagen of Am., Inc.

("Volkswagen Ii"), 545 F.3d 304, 312 (5th Cir. 2008) (en banc)).2

         Under the first clause of Section 1400(b), venue is proper in the district where the defendant

"resides," which the Supreme Court interpreted to mean "only [in] the State of incorporation." See

TC Heartland LLC v. Kraft Foods Grp. Brands LLC,               U.S.     ,   137 S.Ct. 1514, 1521 (2017);

In re BigCommerce, Inc., 890 F.3d 978, 982-83 (Fed. Cir. 2018). Venue may also be proper under

the second clause of Section 1400(b) where the defendant has committed acts of infringement and

has a regular and established place of business. See In re Cray Inc., 871 F.3d 1355, 1360 (Fed. Cir.

2017).

         Once that threshold is met, courts analyze both private and public interest factors relating to

the convenience of parties and witnesses, as well as the interests of the different venues in hearing

the case. See Humble Oil & Ref Co.      v.   Bell Marine Serv., Inc., 321 F.2d 53, 56(5th Cir. 1963); In

re Nintendo Co., Ltd., 589 F.3d 1194, 1197 (Fed. Cir. 2009). The private-interest factors are:

                (1) the relative ease of access to sources of proof (2) the availability
                of compulsory process to secure the attendance of witnesses; (3) the
                cost of attendance for willing witnesses; and (4) all other practical
                problems that make a trial of a case easy, expeditious, and
                inexpensive.

In re Volkswagen AG ("Volkswagen 1"), 371 F.3d 201, 203 (5th Cir. 2004). The public-interest

factors are:



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          Federal Circuit law determines whether venue is proper under Section 1400(b). See In re
ZTE (USA) Inc., 890 F.3d 1008, 1012 (Fed. Cir. 2018). Fifth Circuit law determines whether a
transfer is proper under Section 1404(a). See Winner Int'l Royalty Corp. v. Wang, 202 F.3d 1340,
 1352 (Fed. Cir. 2000) (Section 1404(a) is "governed by the law of the regional circuit in which it
sits.") The Federal Circuit's application of Fifth Circuit law to patent-specific transfers is persuasive
when applied to the facts of this case.

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               (1) the administrative difficulties flowing from court congestion; (2)
               the local interest in having localized interests decided at home; (3) the
               familiarity of the forum with the law that will govern the case; and (4)
               the avoidance of unnecessary problems of conflict of laws of the
               application of foreign law.

Id. These factors are reviewed based on "the situation which existed when suit was instituted."

Hoffman v. Blaski, 363 U.S. 335, 343 (1960). Though the private and public factors apply to most

transfer cases, "they are not necessarily exhaustive or exclusive," and no single factor is dispositive.

Volkswagen II, 545 F.3dat314-15.

       In the Fifth Circuit, plaintiff's choice ofvenue is not considered a separate factor in the venue

determination. Id. However, "[t]he Court must            [1
                                                              give some weight to the plaintiffs' choice of

forum." Atlantic Marine Const. Co.     v.   United States Dist. Ct. for    W.   Dist. of Tex., 134 S.Ct. 568,

581 n.6 (2013) (citing Norwood v. Kirkpatrick, 349 U.S.           29,32(1955)).

Analysis

        Where the suit could have been brought

        The parties do not dispute that Uniloc could have commenced this action in the Northern

District of California. The court finds that the threshold requirement for transferring this action for

the convenience of the parties and witnesses is satisfied.

        Private- and public-interest factors

        The court reviews the parties' arguments with regard to each applicable factor.

               Private-interest factorease of access to proof

        "In patent infringement cases, the bulk of the relevant evidence usually comes from the

accused infringer." In re Genentech, Inc., 566 F.3d at 1345. All of the documents relating to the

design and development of the accused technology were generated around Cupertino, California and


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are stored there. Additionally, the primary research, design, development, facilities, and engineers

for the alleged infringing products are located near Cupertino. Also, all of Apple's relevant financial

and marketing documents are located near Cupertino. Apple argues the overwhelming majority of

the sources of proof regarding the alleged infringing products and technology are in the Northern

District of California. Also, Apple has identified third parties who are located in the Northern

District of California. Apple argues that these third parties likely maintain relevant documents in

California.

       Uniloc responds that in patent litigation today most of the relevant information in this case

is likely maintained in electronic form, which would be easily accessible from Apple's substantial

Austin facilities. Therefore, Uniloc argues, the location of the actual relevant paper documents is

of little consequence to the convenience of the parties.

        Having considered the parties' arguments, whether the relevant evidence is in electronic form

or not, access to the relevant proof tends to favor venue of this action in the Northern District of

California.

                 Private-interest factoravailability of compulsory process

        Transfer is favored if a transferee forum has absolute subpoena power over a greater number

of third-party witnesses.   In re Hoffman-La Roche, Inc.,   587 F.3d 1333, 1337-38 (Fed. Cir. 2009);

Genetech,     566 F.3d at 1345. A court may subpoena a witness to attend trial only: (1) "within 100

miles of where the person resides, is employed, or regularly transacts business in person;" or (2)

"within the state where the person resides, is employed, or regularly transacts business in person."

Fed. R. Civ. P. 45(c)(1).
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       Apple argues that the Northern District of California would have absolute subpoena power

over several relevant third-party witnesses as well as some Uniloc witnesses who reside in

California. Apple is unaware of any third-party witnesses within the Western District of Texas.

       The court agrees. There is no showing that any relevant third-party witness is within the

applicable compulsory-process range of this court. The court finds that this factor weighs in favor

of transferring venue to the Northern District of California.

                 Private-interest factorattendance of willing witnesses

       Apple provides proof that all of its relevant witnesses identified to dateincluding 18

witnesses identified by nameare in the Northern District of California, with none in this district.

"The convenience of the witnesses is probably the single most important factor in [a venue] transfer

analysis." In re Genentech, 566 F.3d at 1342. In considering this factor, the court also includes

Apple's employee-witnesses, all of whom are in the Northern District of California. See Volkswagen

I, 371 F.3d at 204. Uniloc makes no mention of its own witnesses.

       The court finds that this factor weighs in favor of transferring venue to the Northern District

of California.

                 Private-interest factorother practical considerations

       Having reviewed the parties' arguments about other practical considerationswhetherjudicial

economy favors one side and the fact that other Uniloc patent-infringement cases against Apple have

been transferred from other Texas federal courts to the Northern District ofCaliforniathe court finds

that these matters are neutral and favor neither side in the venue analysis.




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                Public-interest factors


       Apple argues that the applicable public-interest factors favor transfer to the Northern District

of California. Apple argues that the Northern District of California has a strong local interest in this

matter as it is the location where the alleged infringing products and software were designed and

developed. Additionally, all of Apple's employees with relevant information about these products

and software are based in that district. Apple also argues that Uniloc has shown no connection to

the Western District of Texas. Apple argues that the court-congestion factor favors a transfer to

California because there, the average time to trial for patent cases is 836 days, versus in the Western

District, the average time to trial is 946 days.

        Uniloc challenges the statistics Apple relies upon for its court-congestion argument,

contending that Apple's data is inaccurate. Additionally, Uniloc responds that given Apple's

significant presence in Austin, the local-interest public factor weighs in favor of maintaining the

action in this court.

        The proof shows that Apple has a substantial presence in this district and in Northern

California, so therefore, both districts have local interest in the case. As for court congestion,

whether Apple's statistics are correct or not, this court is unpersuaded that this factor favors one side

or the other. The court finds that the relevant public-interest factors are neutral.

        Uniloc's venue choice

        Although the court does not review Uniloc's choice to file this action in the Western District

of Texas as a separate factor in the venue analysis, the choice is given some weight.       See Atlantic


Marine,   134 S.Ct. at 581 n.6. "Plaintiffs are ordinarily allowed to select whatever forum they

consider most advantageous (consistent with jurisdictional and venue limitations), [and the Supreme


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Court has] termed their selection 'the plaintiff's venue privilege." Atlantic Marine, 134 S.Ct. at

581. In the Fifth Circuit, the venue privilege contributes to the defendant's elevated burden of

proving that the transferee venue is "clearly more convenient" than the transferor venue.

Volkswagen II, 545 F.3d at 315; see also Nintendo, 589 F.3d at 1200.

         The court has considered Uniloc's forum choice to proceed in this court. The court

concludes, however, that Apple has met its burden to show that the Northern District of California

is clearly more convenient for the parties and witnesses.

         Conclusion

         The court has considered all of the relevant private- and public-interest factors as well as

Uniloc's preference to maintain the action in this court. A significant number ofparty and non-party

witnesses are in California and Apple has shown that the convenience of the witnesses weighs

strongly in favor of transfer. Additionally, most ofthe relevant witnesses determined as of this stage

in the litigation are within the subpoena power of the Northen District of California and are beyond

the subpoena range of Western District of Texas. Having considered the relevant factors, the court

is of the opinion that Apple has satisfied its burden and shown good cause why the Northern District

of California is clearly a more convenient forum for the parties and witnesses and that this action

should be transferred to California.

         IT IS   ORDERED that Defendant Apple Inc.'s Motion to Transfer Venue Pursuant to 28

U.S.C.   §   1404(a) filed June 12, 2018 (Clerk's Document No. 35) is   GRANTED and this cause is

TRANSFERRED to the United States District Court for the Northern District of California.

         IT IS   FURTHER ORDERED that because Uniloc filed a First Amended Complaint for

Patent Infringement on May 30, 2018, Apple's Motion to Dismiss Pursuant to Federal Rule of Civil


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Procedure 12(b)(6) filed May 9, 2018 (Clerk's Document No. 28) is DISMISSED WITHOUT

PREJUDICE.

       FINALLY IT IS ORDERED that the Clerk of Court forward the file to the United States

District Court for the Northern District of California.

       SIGNED this                  day of March, 2019.




                                               UNI ED STATES
